           Case 1:02-cv-08333-LJL Document 98 Filed 03/15/19 Page 1 of 31




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X

725 EATERY CORP., etc., et ano.,                              :
                                            Plaintiffs,
                                                              :
                 - against -                                          Civil Action No.
                                                              :       02 CV 4431 (WHP)
THE CITY OF NEW YORK, et al.,
                                             Defendants. :
-----------------------------------------------------------------X

59 MURRAY ENTERPRISES INC., etc., et al.,                     :
                            Plaintiffs,
                                                              :
                 - against -                                          Civil Action No.
                                                              :       02 CV 4432 (WHP)
THE CITY OF NEW YORK, et al.,
                                             Defendants. :
-----------------------------------------------------------------X

CLUB AT 60TH STREET, INC., etc., et al.,                      :
                                Plaintiffs,
                                                              :
                 - against -                                          Civil Action No.
                                                              :       02 CV 8333 (WHP)
THE CITY OF NEW YORK,
                                             Defendant.        :
------------------------------------------------------------------X
336 LLC., etc., et al.,                                        :
                                             Plaintiffs,
                                                               :
                  - against -                                         Civil Action No.
                                                               :      18 CV 3732 (WHP)
THE CITY OF NEW YORK,
                                             Defendant.        :
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 NOTICE OF FILING OF PLAINTIFFS’ JOINT REPLY APPENDIX (Vol. II of
IV) IN SUPPORT OF PLAINTIFFS’ REPLY TO DEFENDANT’S RESPONSE TO
         PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
         Case 1:02-cv-08333-LJL Document 98 Filed 03/15/19 Page 2 of 31




       PLEASE TAKE NOTICE, that Plaintiffs hereby file following Joint Reply
Appendix (Vol. II of IV) in support of their pending Motion for Preliminary Injunction in
the above-captioned actions.

Dated: New York, New York
March 15, 2019

Respectfully,

DANIEL A. SILVER                               JOHN H. WESTON
SILVER & SILVER                                G. RANDALL GARROU
One Liberty Square                             WESTON, GARROU & MOONEY
New Britain, Connecticut 06050-0698            12121 Wilshire Boulevard, Suite 525
(860) 225-3518                                 Los Angeles, CA 90025-1176
                                               (310) 442-0072
- and-
                                               - and -
JENNIFER KINSLEY
Kinsley Law Office                             ALAN M. ABRAMSON
Post Office Box 19478                          ABRAMSON & MORAK
Cincinnati, Ohio 45219                         35 Worth Street
(513) 708-2595                                 New York, New York 10013
                                               (212) 226-7098
Attorneys for Plaintiffs
725 Eatery Corp., etc., et ano.                Attorneys for Plaintiffs
                                               Club At 60th Street, Inc., etc., et al.
By: s/Jennifer Kinsley
Jennifer Kinsley                               By: s/John Weston
                                               John Weston
EDWARD S. RUDOFSKY
ZANE and RUDOFSKY                              ERICA DUBNO
601 West 26th Street, # 1315                   FAHRINGER & DUBNO
New York, New York 10001                       767 Third Avenue, Suite 3600
(212) 245-2222                                 New York, New York 10017
                                               (212) 319-5351
Attorneys for Plaintiffs
59 Murray Enterprises, Inc., etc.              Attorney for Plaintiffs 336 LLC, et al.

By: s/Edward S. Rudofsky                       By: s/Erica T. Dubno
Edward S. Rudofsky                             Erica T. Dubno




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X

725 EATERY CORP., etc., et ano.,                              :
                                            Plaintiffs,
                                                              :
                 - against -                                          Civil Action No.
                                                              :       02 CV 4431 (WHP)
THE CITY OF NEW YORK, et al.,
                                             Defendants. :
-----------------------------------------------------------------X

59 MURRAY ENTERPRISES INC., etc., et al.,                     :
                            Plaintiffs,
                                                              :
                 - against -                                          Civil Action No.
                                                              :       02 CV 4432 (WHP)
THE CITY OF NEW YORK, et al.,
                                             Defendants. :
-----------------------------------------------------------------X

CLUB AT 60TH STREET, INC., etc., et al.,                      :
                                Plaintiffs,
                                                              :
                 - against -                                          Civil Action No.
                                                              :       02 CV 8333 (WHP)
THE CITY OF NEW YORK,
                                             Defendant.        :
------------------------------------------------------------------X
336 LLC., etc., et al.,                                        :
                                             Plaintiffs,
                                                               :
                  - against -                                         Civil Action No.
                                                               :      18 CV 3732 (WHP)
THE CITY OF NEW YORK,
                                             Defendant.        :
------------------------------------------------------------------X


            PLAINTIFFS’ JOINT REPLY APPENDIX (Vol. II of IV)
     IN SUPPORT OF PLAINTIFFS’ REPLY TO DEFENDANT’S RESPONSE TO
           PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION




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                      PLAINTIFFS’ JOINT REPLY APPENDIX
                                  Vol. II of IV
                                (pp. 1982-2004)

       Per the Court’s Order of November 7, 2018, Plaintiffs in each of the four above-

entitled actions hereby submit their unitary Joint Reply Appendix consisting exclusively

of evidentiary documents upon which some or all of the Plaintiffs may choose to rely in

their Reply to Defendant’s Response to Plaintiffs’ Motion for Preliminary Injunction.

The inclusion of documents in this Joint Reply Appendix does not automatically signify

an endorsement or promotion of any of these documents by any individual Plaintiff or

group of Plaintiffs. That will depend on specific adoption of any of these documents by

any Plaintiffs or Group of Plaintiffs in documents they may file with the Court.

       The reference below to the “Club Plaintiffs” refers to all the Plaintiffs in Action

Nos. 02 CV 4431, 02 CV 4432 and 02 CV 8333. The reference below to the “Bookstore

Plaintiffs” refers to all the Plaintiffs in Action No. 18 CV 3732.


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                                                                        Starting
                                                                         Page #

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                            PLAINTIFFS

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                                 (pp. 1882-1981)
   A         Club Plaintiffs’ First Supplemental Request to Take        1882
             Judicial Notice



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       Exhibit 2-A: Resolution 0208-1998, approving Text          1891
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       Exhibit 4-A: Portions of NYC Council Resolution            1933
       586-2004 amending, AZR 32-01 & 42-01 regarding
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       Exhibit 5-A: Portions of NYC Council Resolution            1941
       0499-2010 amending, AZR 32-01 & 42-01 regarding
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       Exhibit 82: Excerpts from NYAC Title 28, Chapter 1, 1950
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       Exhibit 86: Excerpts from NYAC Title 28, Chapter 1, 1966
       Subchapter 1, Article 116 (entitled “Inspections and
       Signoff of Completed Work”)
       Exhibit 87: Excerpts from NYAC Title 28, Chapter 1, 1968
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       Exhibit 88: Excerpts from NYAC Title 28, Chapter 1, 1970
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       Occupancy”)

B      Reply Declaration of Michael Berzak Re: Permitting         1974
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       Preliminary Injunction


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   C        Declaration of G. Randall Garrou Re Source of         1978
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                               (pp. 1982-2004)

   D        Reply Declaration of Michael Berzak Re: Adult         1982
            Business Sites in Support of Plaintiffs’ Motion for
            Preliminary Injunction – Part One


                                Vol. III of IV
                               (pp. 2005-2023)

   D        Reply Declaration of Michael Berzak Re: Adult         2005
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            Preliminary Injunction – Part Two


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                               (pp. 2024-2098)

   D        Reply Declaration of Michael Berzak Re: Adult         2024
            Business Sites in Support of Plaintiffs’ Motion for
            Preliminary Injunction – Part Three

            Exhibit 1K(Amended): Map Showing Maximum              2030
            Number and Location of Manhattan Relocation
            Areas

            Exhibit 89: New York Times Article                    2032

              DOCUMENTS SUBMITTED BY BOOKSTORE
                         PLAINTIFFS

   E        Reply Declaration of Dr. Elliott D. Sclar             2039


Dated:       New York, New York
             March 15, 2019




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                            Respectfully submitted,

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                            (860) 225-3518
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                            Attorneys for Plaintiffs
                            725 Eatery Corp., etc., et ano.

                            By: s/ Jennifer M. Kinsley
                                   Jennifer M. Kinsley


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                            New York, New York 10001
                            (212) 245-2222

                            Attorneys for Plaintiffs
                            59 Murray Enterprises, Inc., et al.


                            By: s/Edward S. Rudofsky __________
                                  Edward S. Rudofsky




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                            JOHN H. WESTON
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                            (310) 442-0072
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                            ABRAMSON & MORAK
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                            (212) 226-7098

                            Attorneys for Plaintiffs
                            Club At 60th Street, Inc., etc., et al.


                            By: s/John Weston__________________
                                  John Weston

                            ERICA DUBNO
                            FAHRINGER & DUBNO
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                            New York, New York 10017
                            (212) 319-5351

                            Attorney for Plaintiffs 336 LLC, et al.

                            By: s/Erica T. Dubno
                                   Erica T. Dubno




                               8
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                                                             Exhibit D



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
689 EATERY CORP., etc., et ano.,                              :

                                            Plaintiffs,      :

                 - against -                                 :      Civil Action No.
                                                                    02 CV 4431 (WHP)
THE CITY OF NEW YORK, et al.,                                :

                                             Defendants. :
--------------------------------------------------------------X
59 MURRAY ENTERPRISES INC., etc., et al.,                     :

                                            Plaintiffs,      :

                 - against -                                 :      Civil Action No.
                                                                    02 CV 4432 (WHP)
THE CITY OF NEW YORK, et al.,                                :

                                             Defendants. :
--------------------------------------------------------------X
CLUB AT 60TH STREET, INC., etc., et al.,                      :

                                            Plaintiffs,      :

                 - against -                                 :      Civil Action No.
                                                                    02 CV 8333 (WHP)
THE CITY OF NEW YORK,                                        :

                                             Defendant.       :
--------------------------------------------------------------X

REPLY DECLARATION OF MICHAEL BERZAK RE SITES ISSUES PRESENTED IN
         PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


        MICHAEL BERZAK, hereby declares the following pursuant to 28 USC §1746:

        1.       I, Michael David Berzak, have personal knowledge of each of the facts stated

herein. I make this declaration in response to statements regarding the “sites” issues in this case

as discussed in the Declaration of Anita Laremont, the Executive Director of the New York




                                                                                             1982
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Department of City Planning (“Laremont Declaration”) filed by the City in these cases on

January 31, 2019.

       2.      All references herein to my “Sites Declaration” are to the Declaration of Michael

Berzak Regarding Adult Business Sites in Support of Plaintiffs’ Motion for Preliminary

Injunction, which is item A in Plaintiffs’ Joint Appendix (PJA), starting at page 001.

                                          OVERVIEW

       3.      In paragraph 35 of my Sites Declaration (found at pp. 14-15 of Volume 1 of

Plaintiffs’ Joint Appendix), and as amended by my Supplemental and Correcting Declaration

filed herein on January 2, 2019, I stated that I evaluated the City’s 1995 map of legally

permissible and unencumbered sites for new adult businesses in Manhattan and found 85

currently legally permissible lots in Manhattan for adult eating and drinking establishments

(hereafter “adult clubs”). Although I did not so explain in my original declaration, my intent was

to convey that there were 85 sites which could theoretically be used for at least some type of

commercial establishment, even if not an adult club. In determining those 85 lots, however, I

intentionally erred on the side of overinclusion of questionable locations, so the City would have

no conceivable basis to challenge locations I excluded.

       4.      I then identified each of these 85 locations by block and lot number in a

spreadsheet prepared by Plaintiffs’ counsel which I was told would be given to the City so its

experts could examine those lots. I was then informed that the chart had been given to the City

and it had reviewed those lots.

       5.      In reviewing the exhibits to the Laremont Declaration, I see that the City, perhaps

using different criteria, concluded that only 27 of the 85 lots I had identified were in fact both

legally permissible and not encumbered in a manner to make them unavailable to any




                                                2
                                                                                            1983
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commercial enterprise. I have reviewed the 58 of my original 85 lots I identified which the City

excluded and fully accept the City’s conclusion that only 27 of the lots I identified were both

legally permissible and could realistically be occupied and operated by a new commercial

business.

         6.   In Ms. Laremont’s Declaration, she identified 12 other Manhattan lots as legally

permissible and countable for adult businesses in addition to the 27 upon which we both agree. I

had not identified those 12 lots and, after re-evaluating and personally re-inspecting each of

them, respectfully disagree with her so characterizing all but one of them, Block 705, Lot 1

(described in paragraph 7-(7) below, City’s Count # 23). Although legally permissible, that lot

should nonetheless be excluded because, in my opinion, it would never conceivably be rented to

any adult business. I conclude that there are only 28 legally permissible and unencumbered lots

in Manhattan for relocating and establishing adult eating and drinking establishments and, as I

will discuss below, far fewer lots which could simultaneously be occupied by adult businesses.

An even smaller number would be commercially viable in that there would ever be a realistic

possibility of their both being made available to an adult eating and drinking establishment or

that the property or building would be deemed suitable to a reasonable potential owner of such a

business. In addition, I understand that the City has been presented with my evaluation of these

12 sites, presented in detail below, and now has withdrawn its claim that three of them

(numbered below as paragraphs 7-(2), (5) and (6)) should be counted as valid potential adult

sites.

         THE 12 ADDITIONAL MANHATTAN LOTS PROFFERED BY THE CITY

         7.   The City identified all of the permissible and unencumbered lots it found in

Manhattan in a chart (Exhibit C to the Laremont declaration) and numbered them sequentially in




                                               3
                                                                                          1984
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a column labeled “Count.” I describe below the 12 additional lots identified and characterized

by Ms. Laremont as legally permissible and unencumbered, and include a reference to the City’s

“Count” number as well as its block and lot number. In the descriptions below, if I agree a lot

meets all of the City’s various locational restrictions, I refer to it as “legally permissible,” but

then explain why I nonetheless believe that lot is not constitutionally countable. As a general

approach in my evaluations, if I found a lot was shown on the City’s 1995 map of Manhattan as

an encumbered lot, albeit a legally permissible one, I automatically excluded it without further

analysis, and the results of these exclusions were shown graphically in Map 1-B accompanying

my prior sites declaration. All references herein to my prior maps refer to the Manhattan map

exhibits I prepared which are set forth in Exhibit 1 to my Sites Declaration. My Manhattan map

exhibits are set forth therein at PJA pp. 19-30.

               (1)     Block 665, Lot 11 (City’s Count # 13), Pier 78. The City identified this

       lot in gold on its 1995 Map as permissible but “encumbered.” It remains in a legally

       permissible zone. It is not within 500 feet of any disqualifying zone or use. It remains

       encumbered today by a ferry landing and terminal on its West side and by roadways and

       pedestrian and bike paths on its East side. The roads are used for the parking and loading

       of buses for transport to and from the ferry. This lot should be excluded because it is

       fully encumbered and/or otherwise unavailable for any commercial use.

               I show directly below selected photos of this lot, including both those which I

       took personally and one obtained from Google Earth, as well as a localized map showing

       both where this lot is located and the boundaries of this lot in a red border as an overlay

       to the map. The Google Earth photo also shows the lot boundaries in a red border.




                                                   4
                                                                                              1985
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    (1) Block 665, Lot 11 (City’s Count # 13), Pier 78:




  LOOKING NORTH




 LOOKING SOUTH


                                   5
                                                                  1986
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                         (1) Block 665, Lot 11 (City’s Count # 13), Pier 78:




                  LOOKING WEST

Block: 665, Lot: 11
                                                                                                                                                                                              Legend
                                                                                                                                           Trans it, Roads, Reference Features



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                                                                                                                                           Roads, ferries, commuter rail. neighborhood
                                                                                                                                           names




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                                                                                                                                           -        NYC subway routes and stations




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                                                                                                                                                    Cemeteries
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                                                                        ~                                                            ·.    Block/Lot Boundaries
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about data sources and notes about how the maps were developed. Contact ~ Y ~ Y . & i t Y         with questions or comments.
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                                                                                                                                                                                        1987
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       (2)     Block 665, Lot 111 (City’s Count # 14) Pier 78. The City identified this

lot in gold on its 1995 Map as permissible but “encumbered.” It remains in a legally

permissible zone. It is not within 500 feet of any disqualifying zone or use. It remains

encumbered today as it is entirely within the 12th Ave. (West Side Highway) median.

This lot should be excluded because it is fully encumbered and/or otherwise unavailable

for any commercial use.

       I show directly below selected photos of this lot, including both those which I

took personally and one obtained from Google Earth, as well as a localized map showing

both where this lot is located and the boundaries of this lot in a red border as an overlay

to the map. The Google Earth photo also shows the lot boundaries in a red border.




   LOOKING NORTH



                                         7
                                                                                     1988
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    (2) Block 665, Lot 111 (City’s Count # 14) Pier 78:




  LOOKING SOUTH




 LOOKING EAST
                                                 -.------~
                                   8
                                                                  1989
 Case 1:02-cv-08333-LJL Document 98 Filed 03/15/19 Page 17 of 31




             (2) Block 665, Lot 111 (City’s Count # 14) Pier 78:

Block: 665, Lot: 111
                                                                                                                                                                                          Legend
                                                                                                                                        Transit, Roads, Reference Features
                                                                                                                                       Roads, ferries, commuter rail, neighborhood
                                                                                                                                       names
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 (cc)Jm!EII This map was created using the Open Accessible Space Information System (OASIS) website, licensed under a
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about data sources and notes about how the maps were developed. Contact oasisny.Q@gc.cuny.edu       with questions or comments.
OASIS is developed and maintained by the Center for Urban Research, CUNY Graduate Center.




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                                                                                                                                                                         1990
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       (3)     Block 676, Lot 1 (City’s Count # 19), 601 West 30th Street. The City

identified this lot in gold on its 1995 Map as permissible but “encumbered.” It remains in

a legally permissible zone. It is not currently within 500 feet of any disqualifying zone or

use. Much of this lot consists of land which the Planning Department describes as “Open

space” dedicated to pedestrians. The High Line runs through it as well. It remains

encumbered and/or otherwise unavailable to any commercial use today because the lot is

entirely within the Western Yard of the Hudson Yards Development, which is currently

at the very earliest stages of preconstruction development, and completion will not occur

for several years. Additionally, a public school will be built in the middle of this lot

which will disqualify any adult use on the lot.         This lot should be excluded as

encumbered and/or unavailable for any commercial uses and by virtue of its proximity to

a school.

       I show directly below selected photos of this lot, including both those which I

took personally and one obtained from Google Earth, as well as a localized map showing

both where this lot is located and the boundaries of this lot in a red border as an overlay

to the map. The Google Earth photo also shows the lot boundaries in a red border.




                                        10
                                                                                      1991
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    (3) Block 676, Lot 1 (City’s Count # 19), 601 West 30th Street:




 LOOKING SOUTH




 LOOKING EAST


                                  11
                                                                      1992
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                          (3) Block 676, Lot 1 (City’s Count # 19), 601 West 30th Street:




                   LOOKINGWEST

Block: 676, Lot: 1
                                                                                                                                                                                         Legend
                                                                                                                                        Transit. Roads, Reference Features
                                                                                                                                       Roads, ferries, commuter rail, neighborhood
                                                                                                                                       names
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                                                                                                                                                                                          1993
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       (4)     Block 702, Lot 150 (City’s Count # 20), 560 West 33rd Street. The

City identified this lot in gold on its 1995 Map as permissible but “encumbered.” It

remains in a legally permissible zone. It is not within 500 feet of any disqualifying zone.

It is within the Hudson Yards Development. The lot is to be used for a large high-rise

residential tower currently under construction which will have retail stores on its first and

second floors. It appears that occupancy will likely commence by the end of 2019. The

lot would be a legally permissible location for an adult use but for the proximity of the

planned public school to be built in the contiguous lot to the south (Block 676, Lot 1,

City Count # 19, 601 W. 30th Street) which will eliminate all portions of the lot where

the entrances for retail uses must likely be built, as best I can determine. Because of the

proximity to a planned public school of the virtually certain location of the entrance doors

for all contemplated retail uses, it appears that this location would be legally

impermissible for any new adult use and should be excluded for that reason.

Additionally, because of the nature of the uses for which the structure has been designed

(i.e., as a primarily residential structure with a small amount of commercial on the lower

floors), there is no realistic likelihood it will be available for any adult use. This lot

should be excluded for the foregoing reasons.

       I show directly below selected photos of this lot, including both those which I

took personally and one obtained from Google Earth, as well as a localized map showing

both where this lot is located and the boundaries of this lot in a red border as an overlay

to the map.




                                         13
                                                                                       1994
Case 1:02-cv-08333-LJL Document 98 Filed 03/15/19 Page 22 of 31




    (4) Block 702, Lot 150 (City’s Count # 20), 560 West 33rd Street:




  LOOKING NORTH




  LOOKING EAST
                                                  -------
                                  14
                                                                        1995
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    (4) Block 702, Lot 150 (City’s Count # 20), 560 West 33rd Street:


                                                                                                                Legend
                                                               Transit, Roads, Reference Features
                                                              Roads, ferries, commuter rail, neighborhood
                                                              names
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                                                                                                 1996
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       (5)     Block 702, Lot 175 (City’s Count # 21), 530 West 33rd Street. The

City identified portions of this lot in gold on its 1995 Map as permissible but

“encumbered” and showed other portions of the lot in white as not then legally

permissible. It remains in a legally permissible zone, but only a portion of it is legally

permissible due to proximity to school #24 on my prior Map “1-E”. It is within the

Hudson Yards Development. It remains fully encumbered and/or otherwise unavailable

to any commercial use because it is a dedicated open-space plaza. This lot should be

excluded because it is fully encumbered and/or otherwise unavailable for any commercial

use.

       I show directly below selected photos of this lot, including both those which I

took personally and one obtained from Google Earth, as well as a localized map showing

both where this lot is located and the boundaries of this lot in a red border as an overlay

to the map.




                                        16
                                                                                     1997
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    (5) Block 702, Lot 175 (City’s Count # 21), 530 West 33rd Street:




 LOOKING NORTH




 LOOKING SOUTH

                                  17
                                                                        1998
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             (5) Block 702, Lot 175 (City’s Count # 21), 530 West 33rd Street:




    LOOKING EAST

Block: 702, Lot: 175
                                                                                                                                                                                           Legend



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                                                                                                                                         Transit, Roads, Reference Features
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                                                                                                                                                 NYC subway routes and stations




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f(cc)Jml!IBI This map was created using the Open Accessible Space Information System (OASIS) website, licensed under a
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about data sources and notes about how the maps were developed. Contact ~y~g~y.&Q.U                  with questions or comments.
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                                                                           18
                                                                                                                                                                          1999
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       (6)     Block 702, Lot 180 (City’s Count # 22), 342 West 33rd Street. The

City identified this lot in gold on its 1995 Map as permissible but “encumbered.” It

remains in a legally permissible zone, but only a portion of it is legally permissible due to

proximity to school #24 on my prior Map “1-E”.             It is within the Hudson Yards

Development. The lot today is vacant land covered by a concrete deck and dedicated as

open space. The entirety of the lot is encumbered and/or otherwise unavailable to any

commercial use and, for that reason, should be excluded.

       I show directly below selected photos of this lot, including both those which I

took personally and one obtained from Google Earth, as well as a localized map showing

both where this lot is located and the boundaries of this lot in a red border as an overlay

to the map.




                                         19
                                                                                       2000
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    (6) Block 702, Lot 180 (City’s Count # 22), 342 West 33rd Street:




 LOOKING EAST




 LOOKING EAST

                                  20
                                                                        2001
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            (6) Block 702, Lot 180 (City’s Count # 22), 342 West 33rd Street:


                                                                                                                                                                                         Legend
                                                                                                                                       Transit, Roads, Reference Features
                                                                                                                                      Roads, ferries, commuter rail, neig hborhood
                                                                                                                                      names
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(oc)Jlllml This map was created using the Open Accessible Space Information System (OASIS) webs ite, licensed under a
Creative Commons Attribution-Noncommercial-Share Alike 3.0 United States License. Visit ~ Y , c . n e t for the latest information
about data sources and notes about how the maps were developed. Contact ~Y.&.@9'-'!JOY~ with questions o r comments.
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                                                                         21
                                                                                                                                                                        2002
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        (7)     Block 705, Lot 1 (City’s Count # 23), 380 11th Avenue. A portion of

this lot was shown on the 1995 City Map in a purple color (the remainder in white),

indicating that a portion was then in a legally permissible manufacturing district which

did not then allow residential. The entirety of the lot is now in an unusual legally

permissible commercial district within the Hudson Yards District, Subdistrict A, Subarea

A2, where both residential and adult uses are allowed. Nonetheless, although the lot is

now legally permissible for adult, it is fully occupied by a high-rise hotel with limited

commercial use, and not commercially feasible for any adult use.            Consequently,

although this is a legally permissible lot, it should be excluded because there is no

realistic likelihood it will be available for any adult use.

        I show directly below selected photos of this lot, including both those which I

took personally and one obtained from Google Earth, as well as a localized map showing

both where this lot is located and the boundaries of this lot in a red border as an overlay

to the map.




                                          22
                                                                                     2003
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    (7) Block 705, Lot 1 (City’s Count # 23), 380 11th Avenue:




 LOOKING SOUTH




 LOOKING EAST


                                  23
                                                                  2004
